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                            UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION

IN RE:                                                           CASE NO.: 15-17362-BKC-RAM
                                                               PROCEEDING UNDER CHAPTER 13
LUCIA TERESA GEDO


                   NOTICE CONTINUING TRUSTEE'S MOTION TO DISMISS


         YOU ARE HEREBY NOTIFIED that the Trustee's Motion to Dismiss Chapter 13 Case has

been continued to May 12, 2020, at 9:00 am at United States Bankruptcy Court, C. Clyde Atkins United

States Courthouse, 301 North Miami Avenue, Courtroom 4, Miami, FL 33128.

         I HEREBY CERTIFY that a true and correct copy of the foregoing Notice Continuing Trustee's

Motion to Dismiss Chapter 13 Case was mailed to those parties listed below on this 25th day of March,

2020.


                                                      NANCY K. NEIDICH
                                                      STANDING CHAPTER 13 TRUSTEE
                                                      P.O. BOX 279806
                                                      MIRAMAR, FL 33027-9806
                                                      TELEPHONE: 954-443-4402


                                                      /s/ NANCY K. NEIDICH
                                                  By: NANCY K. NEIDICH

                                          SERVICE LIST

COPIES FURNISHED TO:

DEBTOR
LUCIA TERESA GEDO
210 172 STREET #527
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HIALEAH, FL 33012
